Case 4:21-cv-10009-JEM Document 97 Entered on FLSD Docket 03/08/2022 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
KEY WEST DIVISION
Case Number: 21-10009-CIV-MARTINEZ/BECERRA
TIM RANDOLPH DANIELS,
Plaintiff,
Vv.
ERIC SUTTON, Executive Director of the
Florida Fish and Wildlife Conservation

Commission, in his official capacity,

Defendant.
/

ORDER ADOPTING REPORT AND RECOMMENDATIONS

THIS MATTER was referred to the Honorable Jacqueline Becerra for a report and
recommendation on Defendant’s Motion to Dismiss, (ECF No. 64), and Motion for Summary
Judgment, (ECF No. 20). (See ECF No. 57). Magistrate Judge Becerra issued a report and
recommendation as to the Motion to Dismiss recommending that it be denied. (ECF No. 93). She
also issued a report and recommendation on the Motion for Summary Judgment, recommending
that it be denied as moot. (ECF No. 96). Defendant timely filed objections as to the
recommendation to deny the Motion to Dismiss. (ECF No. 94). No objections have been filed as
to the report and recommendation on the Motion for Summary Judgment. The Court has conducted
a de novo review of the issues presented by the Plaintiff's Objections.

After careful consideration, it is hereby:

ADJUDGED that United States Magistrate Judge Becerra’s Report and Recommendations

(ECF Nos. 93, 96) are AFFIRMED and ADOPTED. Accordingly, it is:

 
Case 4:21-cv-10009-JEM Document 97 Entered on FLSD Docket 03/08/2022 Page 2 of 2

ADJUDGED that:
ls Defendant’s Motion to Dismiss, (ECF No. 64), is DENIED.
2. Plaintiff's Motion for Summary Judgment, (ECF No. 20), is DENIED as moot.

DONE AND ORDERED in Chambers at Miami, Florida, this & day of March, 2022.

Seni lef

JOSE E. MARTINEZ
Copies provided to: UNITEDYSTATES  srrict TURGE
Magistrate Judge Becerra
All Counsel of Record
